Case 1:19-cr-00174-ELH Document 1 Filed 11/02/18 Page 1 of 1

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UNITED STATES DISTRICT CoURT'-_'~°GGED._._._RECE~ED
forthe NOV 02 2018

AO 91 (Rev. lli'l l) Criminal Complaint

 

District of Malyland
AT BALTIMOF€E

CLEF|K, u.S. olsan
By oisTi=ncT oi= MA§;LE.€;URT
DEPUT¥

CaseNo. 18_3 009 ADC

United States of America
v.

Gregory Dwayne Custer

\_/\_`/\_/\_/\_/\_/\_/

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the datc(s) of x in the county of in the
District of N|ary|and , the defendant(s) violated:

Code Sectz'on Oj%nse Descrz'ptz'on
Title 18 U.S.C. § 641 and 371 Theft of Goverment Property and Conspiracy

This criminal complaint is based on these facts:

See Affidavit

El Continued on the attached shect. / M

1
Camplainant’ s signature

’l/o. l"lwl,'f~ §

Printed name and rifle

` Sworn to before me and signed in rny presence.

Date= Mz»w A \Qzlé %( ,_4`
` Judg ’ssrgna

City and gram Ba|timore, N|ary|and A. Davicl Copperthite, U.S. lV|agiStrate Judge

Pri`nted name and title

 

